Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 1 of 22




           EXHIBIT A
Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 2 of 22



          IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TEXAS
                 SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,   *
ROSALIE WEISFELD, AUSTIN *
JUSTICE COALITION,       *
COALITION OF TEXANS WITH *
DISABILITIES, MOVE TEXAS *
CIVIC FUND, LEAGUE OF    *
WOMEN VOTERS OF TEXAS,   *
and AMERICAN GI FORUM OF *
TEXAS, INC.,             *
                         *
        Plaintiffs,      *
                         *            CIVIL ACTION NUMBER
VS.                      *            5:19-cv-0963
                         *
TEXAS SECRETARY OF       *
STATE, TRUDY HANCOCK, IN *
HER OFFICIAL CAPACITY AS *
BRAZOS COUNTY ELECTIONS *
ADMINISTRATOR, AND PERLA *
LARA IN HER OFFICIAL     *
CAPACITY AS CITY OF      *
McALLEN, TEXAS           *
SECRETARY,               *
                         *
        Defendants.      *



                Remote Oral Deposition of

                Austin Justice Coalition,

   By and through their Designated Representative,

                     LARISSA RODIONOV

                        May 20, 2020

                         10:16 a.m.



Reported by:

Micheal A. Johnson, RDR, CRR
     Case 5:19-cv-00963-OLG Document 64-1 Filed
                                   Austin       06/22/20
                                            Justice      Page 3 of 22
                                                       Coalition   - 5/20/2020
                                                                         25
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 2        Q.      Has AJC had any prior dealings with the

 3   Texas Secretary of State’s office?

 4        A.      No.

 5        Q.      How about Perla Lara, the McAllen city

 6   secretary?

 7        A.      No.

 8        Q.      And how about Trudy Hancock, the Brazos

 9   County election administrator?

10        A.      No.

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                     www.integrity-texas.com
     Case 5:19-cv-00963-OLG Document 64-1 Filed
                                   Austin       06/22/20
                                            Justice      Page 4 of 22
                                                       Coalition   - 5/20/2020
                                                                         68
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 9        Q.     Do you know if you ever -- if the Austin

10   Justice Coalition ever assisted a voter to register

11   to vote in a McAllen election?

12                    MR. KALAR:    Object to form.

13   BY MR. TAWIL:

14        Q.     Let me limit that in time.       Since 2017?

15                    MR. KALAR:    Same objection.

16        A.     In McAllen, specifically for a McAllen

17   city election?

18   BY MR. TAWIL:

19        Q.     Any election in McAllen.

20        A.     Again, I can’t say for certain.        I don’t

21   know where all the people have come from.

22        Q.     Has anybody that voted by mail in an

23   election in McAllen ever reached out to the Austin

24   Justice Coalition for assistance as a result of any

25   issue related to the ballot by mail that they cast?

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     Case 5:19-cv-00963-OLG Document 64-1 Filed
                                   Austin       06/22/20
                                            Justice      Page 5 of 22
                                                       Coalition   - 5/20/2020
                                                                         69
 1                     MR. KALAR:     Objection to form.

 2        A.     No.

 3                     THE WITNESS:     Sorry.

 4        A.     No.

 5   BY MR. TAWIL:

 6        Q.     Has the Austin Justice Coalition ever

 7   visited a detention facility in McAllen, Texas?

 8        A.     No.

 9        Q.     Has the Austin Justice Coalition ever

10   visited a detention facility in Hidalgo County?

11        A.     No.

12        Q.     Do you know if the Austin Justice

13   Coalition has ever had any interaction with Perla

14   Lara, who is the city secretary of the City of

15   McAllen, since 2017?

16        A.     No.

17        Q.     Has the Austin Justice Coalition

18   communicated with the City of McAllen city

19   secretary’s office since 2017 regarding mail-in

20   ballots?

21        A.     No.

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Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 6 of 22



          IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TEXAS
                 SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,   *
ROSALIE WEISFELD, AUSTIN *
JUSTICE COALITION,       *
COALITION OF TEXANS WITH *
DISABILITIES, MOVE TEXAS *
CIVIC FUND, LEAGUE OF    *
WOMEN VOTERS OF TEXAS,   *
and AMERICAN GI FORUM OF *
TEXAS, INC.,             *
                         *
        Plaintiffs,      *
                         *            CIVIL ACTION NUMBER
VS.                      *            5:19-cv-0963
                         *
TEXAS SECRETARY OF       *
STATE, TRUDY HANCOCK, IN *
HER OFFICIAL CAPACITY AS *
BRAZOS COUNTY ELECTIONS *
ADMINISTRATOR, AND PERLA *
LARA IN HER OFFICIAL     *
CAPACITY AS CITY OF      *
McALLEN, TEXAS           *
SECRETARY,               *
                         *
        Defendants.      *



                Remote Oral Deposition of

        Coalition of Texans with Disabilities,

   By and through their Designated Representative,

                        CHASE BEARDEN

                        May 19, 2020

                         10:05 a.m.



Reported by:

Micheal A. Johnson, RDR, CRR
     Case 5:19-cv-00963-OLG  Document
                      Coalition       64-1 Filed
                                 of Texans   with06/22/20 Page 7 of 22
                                                    Disabilities    - 5/19/2020
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23        Q.     Okay.    That’s fine.    All right.     Has the

24   Coalition of Texans With Disabilities had any prior

25   dealings with Perla Lara or the McAllen city

                Integrity Legal Support Solutions
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     Case 5:19-cv-00963-OLG  Document
                      Coalition       64-1 Filed
                                 of Texans   with06/22/20 Page 8 of 22
                                                    Disabilities    - 5/19/2020
                                                                          25
 1   secretary?

 2        A.      No.

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     Case 5:19-cv-00963-OLG  Document
                      Coalition       64-1 Filed
                                 of Texans   with06/22/20 Page 9 of 22
                                                    Disabilities    - 5/19/2020
                                                                          78
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 8        Q.     Any of the individuals you mentioned in

 9   response to Mr. Magee’s questions, do any of them

10   vote in McAllen elections, McAllen city elections?

11        A.     No.

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Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 10 of 22



             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,    )
ROSALIE WEISFELD, AUSTIN )
JUSTICE COALITION,        )
COALITION OF TEXANS WITH )
DISABILITIES, MOVE TEXAS )
CIVIC FUND, LEAGUE OF     )
WOMEN VOTERS OF TEXAS, and)
AMERICAN GI FORUM OF      )
TEXAS, INC.,              )
     Plaintiffs,          )
                          )
vs.                       )        CASE NO. 5:19-cv-00963
                          )
TEXAS SECRETARY OF STATE, )
TRUDY HANCOCK, IN HER     )
OFFICIAL CAPACITY AS      )
BRAZOS COUNTY ELECTIONS   )
ADMINISTRATOR, AND PERLA )
LARA IN HER OFFICIAL      )
CAPACITY AS CITY OF       )
MCALLEN, TEXAS SECRETARY, )
     Defendants.          )




                   ORAL AND VIDEO DEPOSITION

                      DR. GEORGE RICHARDSON

                           MAY 13, 2020

                       (REPORTED REMOTELY)
     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20
                                             George      Page 11 of -
                                                      Richardson    22 5/13/2020

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23        Q.    Have you had any prior dealings with Perla Lara

24   or the McAllen city secretary?

25        A.    City of Bryan or College Station?

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     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20
                                             George      Page 12 of -
                                                      Richardson    22 5/13/2020

                                                                           36
 1        Q.    So I was going to ask that one next, but I’m

 2   just -- I just want to cover all the defendants in this

 3   lawsuit.     So Perla Lara is the City of McAllen, Texas,

 4   secretary.       And so --

 5        A.    Oh.

 6        Q.    -- I was wondering if you had familiarity with

 7   her or with that office.

 8        A.    Okay.    No.   No.

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     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20
                                             George      Page 13 of -
                                                      Richardson    22 5/13/2020

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22        Q.    (BY MR. TAWIL)     Dr. Richardson, my name is

23   Isaac Tawil.     I’m an attorney representing Perla Lara in

24   this lawsuit.     You don’t have any complaints about Perla

25   Lara or the City of McAllen, do you?

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     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20
                                             George      Page 14 of -
                                                      Richardson    22 5/13/2020

                                                                           52
 1        A.    Who are you?

 2        Q.     I’m an attorney representing the City of

 3   McAllen --

 4        A.    Okay.

 5        Q.     -- and Perla Lara, who is a defendant in this

 6   lawsuit.     You don’t have any complains about Perla Lara,

 7   do you --

 8                      MR. MIRZA:    Objection.

 9        A.    No.

10        Q.     (BY MR. TAWIL)      -- as it relates to your --

11   your ballot?

12                      MR. MIRZA:    Objection.

13                      Go ahead.    You can answer.

14        A.     I don’t think so.     No.

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Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 15 of 22



             IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,    )
ROSALIE WEISFELD, AUSTIN )
JUSTICE COALITION,        )
COALITION OF TEXANS WITH )
DISABILITIES, MOVE TEXAS )
CIVIC FUND, LEAGUE OF     )
WOMEN VOTERS OF TEXAS, and)
AMERICAN GI FORUM OF      )
TEXAS, INC.,              )
     Plaintiffs,          )
                          )
vs.                       )        CASE NO. 5:19-cv-00963
                          )
TEXAS SECRETARY OF STATE, )
TRUDY HANCOCK, IN HER     )
OFFICIAL CAPACITY AS      )
BRAZOS COUNTY ELECTIONS   )
ADMINISTRATOR, AND PERLA )
LARA IN HER OFFICIAL      )
CAPACITY AS CITY OF       )
MCALLEN, TEXAS SECRETARY, )
     Defendants.          )




                   ORAL AND VIDEO DEPOSITION

                        ROSALIE WEISFELD

                           MAY 13, 2020

                       (REPORTED REMOTELY)
     Case 5:19-cv-00963-OLG Document 64-1 Filed Rosale
                                                06/22/20 Weisfeld
                                                          Page 16 of -
                                                                     22 5/13/2020

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21        Q.    And why didn’t you send a copy of this e-mail

22   to anyone at the City of McAllen Secretary’s Office?

23        A.    The only thing I can remember is that after I

24   became a client of the Texas Civil Rights Project they

25   said they would take care of -- they -- they would --

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     Case 5:19-cv-00963-OLG Document 64-1 Filed Rosale
                                                06/22/20 Weisfeld
                                                          Page 17 of -
                                                                     22 5/13/2020

                                                                            64
 1   they would represent me and communicate with those --

 2   they would communicate as necessary with -- regarding

 3   the case, regarding what happened to me.

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Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 18 of 22



           IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                  SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,   *
ROSALIE WEISFELD, AUSTIN *
JUSTICE COALITION,       *
COALITION OF TEXANS WITH *
DISABILITIES, MOVE TEXAS *
CIVIC FUND, LEAGUE OF    *
WOMEN VOTERS OF TEXAS,   *
and AMERICAN GI FORUM OF *
TEXAS, INC.,             *
                         *
        Plaintiffs,      *
                         *             CIVIL ACTION NUMBER
VS.                      *             5:19-cv-0963
                         *
TEXAS SECRETARY OF       *
STATE, TRUDY HANCOCK, IN *
HER OFFICIAL CAPACITY AS *
BRAZOS COUNTY ELECTIONS *
ADMINISTRATOR, AND PERLA *
LARA IN HER OFFICIAL     *
CAPACITY AS CITY OF      *
McALLEN, TEXAS           *
SECRETARY,               *
                         *
        Defendants.      *



                 Remote Oral Deposition of

            League of Women Voters of Texas,

   By and through their Designated Representative,

                        GRACE CHIMENE

                        May 18, 2020

                         10:08 a.m.



Reported by:

Micheal A. Johnson, RDR, CRR
     Case 5:19-cv-00963-OLG League
                            Documentof
                                     64-1 Filed Voters
                                        Women   06/22/20 of
                                                          Page 19 of -
                                                            Texas    22 5/18/2020

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 6         Q.     And how about -- to your knowledge, has

 7   the League of Women Voters of Texas had any prior

 8   dealings with the City of McAllen’s secretary?

 9         A.     No.

10         Q.     What about the --

11         A.     No.

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Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page 20 of 22



           IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                  SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON,   *
ROSALIE WEISFELD, AUSTIN *
JUSTICE COALITION,       *
COALITION OF TEXANS WITH *
DISABILITIES, MOVE TEXAS *
CIVIC FUND, LEAGUE OF    *
WOMEN VOTERS OF TEXAS,   *
and AMERICAN GI FORUM OF *
TEXAS, INC.,             *
                         *
        Plaintiffs,      *
                         *             CIVIL ACTION NUMBER
VS.                      *             5:19-cv-0963
                         *
TEXAS SECRETARY OF       *
STATE, TRUDY HANCOCK, IN *
HER OFFICIAL CAPACITY AS *
BRAZOS COUNTY ELECTIONS *
ADMINISTRATOR, AND PERLA *
LARA IN HER OFFICIAL     *
CAPACITY AS CITY OF      *
McALLEN, TEXAS           *
SECRETARY,               *
                         *
        Defendants.      *



                 Remote Oral Deposition of

                  MOVE Texas Civic Fund,

   By and through their Designated Representative,

                  HILLIARD DREW GALLOWAY

                        May 22, 2020

                         10:02 a.m.



Reported by:

Micheal A. Johnson, RDR, CRR
     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page
                                                      MOVE    21 of -
                                                           Texas    22 5/22/2020

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22         Q.     Has the -- has MOVE Texas Civic Fund had

23   any prior dealings with Perla Lara or the McAllen

24   city secretary?

25         A.     No, not to my knowledge.

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     Case 5:19-cv-00963-OLG Document 64-1 Filed 06/22/20 Page
                                                      MOVE    22 of -
                                                           Texas    22 5/22/2020

                                                                           54
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 4         Q.     Do you have volunteers at Hidalgo County?

 5   I know you said there’s not a physical presence as

 6   in an office, but do you send volunteers down on an

 7   occasional basis?

 8         A.     To my knowledge, we have not -- we do not

 9   volunteer in Hidalgo County at this time.

10         Q.     Okay.   Has MOVE Civic Fund had any

11   contact or communication with Perla Lara in her

12   official capacity as the McAllen city secretary?

13         A.     Not to my knowledge.

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